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 4                               UNITED STATES DISTRICT COURT

 5                                      DISTRICT OF NEVADA

 6                                                 ***

 7     UNITED STATES OF AMERICA,                          Case No. 2:13-CR-149-KJD-CWH
 8                                           Plaintiff,
                                                                            ORDER
 9           v.
10     THOMAS LEWIS,
11                                         Defendant.
12

13

14            Before the Court is the Government’s Motion to Strike the Preliminary Order of
15     Forfeiture from the Amended Judgment in a Criminal Case with Respect to Thomas Lewis
16     ONLY (#122). Having reviewed the motion, and good cause appearing, the motion is
17     GRANTED. The Preliminary Order of Forfeiture (#89) is HEREBY STRICKEN only as to
18     Defendant Thomas Lewis, independent of Defendants Young and Madden.
19

20     DATED this 19th day of August 2014.
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23
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                                                          Kent J. Dawson
24                                                        United States District Judge

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